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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

                                                     Chapter 11

In re:                                               Case No. 20-10343 (LSS)

BOY SCOUTS OF AMERICA AND                            (Jointly Administered)
DELAWARE BSA, LLC,

                   Debtors. 1


             NOTICE OF ORAL DEPOSITION OF ANDREW VAN ARSDALE
            PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 30(b)(1)

TO:      Andrew Van Arsdale
         c/o Joseph Gray, Cross & Simon, LLC (jgrey@crosslaw.com)
         1105 North Market Street, Suite 901, Wilmington, DE 19801

         TAKE NOTICE that Century Indemnity Company, as successor to CCI Insurance

Company, as successor to Insurance Company of North America and Indemnity Insurance

Company of North America (“Century”), pursuant to Fed. R. Civ. P. 30, made applicable to this

proceeding pursuant to Federal Rules of Bankruptcy 7030 and 9014, will take the deposition

upon oral examination of Andrew Van Arsdale in connection with the Modified Fifth Amended

Chapter 11 Plan Of Reorganization For Boy Scouts Of America And Delaware BSA, LLC [D.I.

6443].

         The deposition will commence on November 29, 2021 at 9:30 a.m. (Prevailing Pacific

Time) via Zoom. The deposition shall continue from day-to-day (Saturdays, Sundays, and

holidays excluded), or as otherwise agreed by the parties, until completed.




1 The Debtors in these Chapter 11 Cases, together with the last four digits of Debtor’s federal tax

identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC
(4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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       The deposition shall be taken upon oral examination before an officer authorized by law

 to administer oaths, either in person or by remote video conference, and will be recorded by

 videographer and/or by stenographic means.

           PLEASE TAKE FURTHER NOTICE that:

       1.       The deposition will be conducted remotely, using audio-visual conference

technology;

       2.       The court reporter will either report the deposition from the same location as the

witness or a location separate from the witness and will remotely administer the oath to the

witness;

       3.       Counsel for the parties and their clients will participate either from the same

location or from separate locations;

       4.       The witness may be required to provide government-issued identification, which

must be legible on camera;

       5.       Each participating attorney may be visible to all other participants, and their

statements will be audible to all participants;

       6.       All exhibits will be provided simultaneously and, if the deposition is conducted

remotely, electronically to the witness and all participants;

       7.       The court reporter will record the testimony;

       8.       The deposition may be recorded by stenographic, electronic, and/or visual means;

and

       9.       Counsel for all parties will be required to stipulate on the record their consent to

this manner of deposition and their waiver of any objection to this manner of taking the deposition,




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including any objection to the admissibility at trial of this testimony based on the manner of

remote deposition taking.

       PLEASE TAKE FURTHER NOTICE that Mr. Van Arsdale shall also produce

documents responsive to the requests contained in Exhibit A at least forty-eight (48 hrs.) in

advance of his deposition. The document requests are identical to those personally served upon

him at his San Diego residence on October 4, 2021. See Exhibit B.

Dated: November 18, 2021                           Respectfully Submitted,

                                                   By: /s/ Stamatios Stamoulis
                                                       Stamatios Stamoulis (#4606)

                                                   STAMOULIS & WEINBLATT LLC
                                                   800 N. West Street Third Floor
                                                   Wilmington, Delaware 19801
                                                   Telephone: 302 999 1540
                                                   Facsimile: 302 762 1688

                                                   O’MELVENY & MYERS LLP
                                                   Tancred Schiavoni (pro hac vice)
                                                   Daniel Shamah (pro hac vice)
                                                   Times Square Tower
                                                   7 Times Square
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                                                   Email: tschiavoni@omm.com
                                                   dshamah@omm.com

                                                   Counsel for Century Indemnity Company, as
                                                   successor to CCI Insurance Company, as
                                                   successor to Insurance Company of North
                                                   America and Indemnity Insurance Company of
                                                   North America

                               CERTIFICATE OF SERVICE
       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
document was electronically served on all counsel of record, on this 18th day of November, 2021,
in accordance with the Federal Rules of Civil Procedure.
                                                    Stamatios Stamoulis
                                                    Stamatios Stamoulis

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